Case 1:23-mi-99999-UNA Document 2674-133 Filed 08/21/23 Page 1 of 3




                   EXHIBIT B-133
  Case 1:23-mi-99999-UNA Document 2674-133 Filed 08/21/23 Page 2 of 3




                                                                           FILED IN OFFICE
                IN THE SUPERIOR COURT OF FULTON COUNT


State of Gcorgia.
                            STATE OF GEORGIA
                                                                             I  JA~23
                                                                           DEPUTY CLERK SUPERIORCOURT
                                                                               FLJI Ti)' I r;01 l\)TV   r.t;
                                                                                                               ,~



                                             •     CASE NO. 2022-EX-000024


IN RE: 2 MAYSPECIAL
PURPOSE GRAND JURY                           •

  REQUEST TO USE· A RECORDING DEVICE PURSUANT TO RULE 22 ON
             RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned     hereby requests permission to use a recording device in
Courtroom Judge Robert C.I. McBurney in order to IZ!record images and/ or
t8:lsound during all or portions of the proceedings in the above captioned
case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): [8Jcomputer of any size, including a
tablet, a notebook, and a laptop; [8Jsmart phone, a cell phone or other wireless
phone; IZILive camera and other audio or video recording devices t8Jany
similar devices __

The proceedings that the undersigned    desires to record commence on (date and
timehJ:anuary24, 2023 at noon and throughout the hearing. Subject to
direction from the court regarding possible pooled coverage, the undersigned
wishes to use this device in the courtroom on (date and time) January 24, 2023
at noon and throughout             the   hearing    January   24,   2023   at noon and
throughout the hearing.

The personnel who will be responsible for the use of this recording device are:
(identify appropriate personnel or individual)WSB-TV employees




For questions or concerns email pio@fultoncountyqa.gov                                           1
Rule 22 (Rev. 04/01/ 18)
   Case 1:23-mi-99999-UNA Document 2674-133 Filed 08/21/23 Page 3 of 3




The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.
*Notice to Requesting Agency or Individual*
In order to be deemed timely by the Court, this request must be
submitted 24 business hours prior to the proceeding for which it is
requested due to mandatory notice requirements.

WSB-TV
(News Agency/Media Outlet/Law Firm/Individual Representative)

content@wsbtv.com
(Email Address)

404 897-6276
(Phone Number)

ORDER APPROVING/DISAPPROVINGREQUEST:
        The request is:
              ~Approved


              The requesting agency:
                    ~Shall be pool for its media
                    .          not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

So ORDERED this 19th day of __ J_a_n_u_a~ry
                                     _______                 __,, 2023 .



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For questions or coneems email pio@fu.ltoncountuqa.gov                         2
Rule 22 (Rev. 04/01/ 18)
